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2    District of Nevada
     Nevada Bar Number 14853
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7                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
8    UNITED STATES OF AMERICA,                        Case No. 2:18-cr-279-APG-EJY
9                  Plaintiff,                         STIPULATION TO CONTINUE
                                                      HEARING
10          v.                                        (Third Request)
11   ELMER EDUARDO RODRIGUEZ,
12                 Defendant.
13

14          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher

15   Chiou, Acting United States Attorney, and Melanee Smith, Assistant United States

16   Attorney, counsel for the United States of America, and M. Kent Kozal, and Steven M.

17   Altig, co-counsel for Defendant Elmer Eduardo Rodriguez, that the hearing currently

18   scheduled for September 29, 2021 at 9:30 a.m., be vacated and set to a date and time

19   convenient to this Court, but no sooner than thirty (60) days.

20          The Stipulation is entered into for the following reasons:

21          1.     Parties have reached a resolution in this matter and a change-of-plea hearing

22   has been scheduled for November 3, 2021.

23          2.     A resolution to the case would obviate the need for a hearing.

24          3.     The defendant is not in custody and agrees to the continuance.
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1           4.      Additionally, denial of this request for a continuance could result in a

2    miscarriage of justice.

3           This is the third stipulation to continue the hearing filed herein.

4           DATED this 28th day of September, 2021.

5                                                  CHRISTOPHER CHIOU
                                                   Acting United States Attorney
6
                                                      /s/ Melanee Smith
7                                                  By_____________________________
                                                   MELANEE SMITH
8                                                  Assistant United States Attorney

9
                                                   /s/ M. Kent Kozal and Steven M. Altig
10                                                 M. KENT KOZAL and
                                                   STEVEN M. ALTIG
11                                                 Counsel for Defendant Elmer Rodriguez

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1                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
2
     UNITED STATES OF AMERICA,                      Case No. 2:18-cr-279-APG-EJY
3
                  Plaintiff,                        ORDER
4
           v.
5
     ELMER EDUARDO RODRIGUEZ,
6
                  Defendant.
7

8          Based on the Stipulation of counsel and good cause appearing,

9          IT IS THEREFORE ORDERED, that the Evidentiary Hearing currently scheduled

10   for September 29, 2021 at the hour of 9:30 a.m., be vacated and continued to

11   December 2, 2021, at the hour of 9:30 a.m., in Courtroom 3A.

12         DATED this 29th day of September, 2021.

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14                                            HONORABLE ELAYNA YOUCHAH
                                              UNITED STATES MAGISTRATE JUDGE
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